        Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 1 of 14 PageID #:1




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MERCH TRAFFIC, LLC,
                                                        Case No. 24-cv-04968
                  Plaintiff,

                  v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,
                  Defendants.


                                            COMPLAINT

          Plaintiff Merch Traffic, LLC (“Merch Traffic” or “Plaintiff”) hereby brings the present

action against the Partnerships and Unincorporated Associations identified on Schedule A

attached hereto (collectively, “Defendants”) and alleges as follows:

                                  I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States


1
    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 2 of 14 PageID #:2




consumers using one or more Seller Aliases, offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and/or funds from U.S. bank accounts and, on

information and belief, have sold products using infringing and counterfeit versions of a

trademark licensed by Plaintiff to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff

substantial injury in the State of Illinois.

                                        II. INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized

and unlicensed products, including apparel and other merchandise, using infringing and

counterfeit versions of the trademark licensed by Plaintiff (the “Counterfeit Products”).

Defendants create e-commerce stores operating under one or more Seller Aliases that are

advertising, offering for sale, and selling Counterfeit Products to unknowing consumers. E-

commerce stores operating under the Seller Aliases share unique identifiers establishing a logical

relationship between them and that Defendants’ counterfeiting operation arises out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid and

mitigate liability by operating under one or more Seller Aliases to conceal both their identities

and the full scope and interworking of their counterfeiting operation. Plaintiff is forced to file

this action to combat Defendants’ counterfeiting, as well as to protect unknowing consumers

from purchasing Counterfeit Products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its licensed

trademark as a result of Defendants’ actions and seeks injunctive and monetary relief.




                                                2
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 3 of 14 PageID #:3




                                       III. THE PARTIES

Plaintiff

       4.        Plaintiff Merch Traffic, LLC is a Delaware company with its headquarters in New

York, New York.         Plaintiff operates as a merchandiser, merchandise license agent, and

intellectual property enforcement agent with regards to infringing merchandise for the musical

performer Hozier. Plaintiff is the exclusive licensee for Hozier branded merchandise in the

United States.

       5.        Hozier (the professional name of Andrew John Hozier-Byrne) is an Irish

musician, singer and songwriter whose music draws from folk, soul, and blues influences and

often evokes literary and religious themes. Much of Hozier’s work directly references topical

events from a socially conscious perspective. Hozier rose to fame with the release of his debut

single “Take Me to Church” in 2013 which peaked at number two on the Billboard Hot 100

chart, was certified multi-platinum in several countries, and was nominated for Song of the Year

at the 57th Annual Grammy Awards. Hozier has since released three studio albums and twenty-

one singles (in addition to “Take Me to Church”).

       6.        Products sold under the Hozier brand include clothing and various accessories.

Hozier branded products are distributed and sold to consumers throughout the United States,

including in Illinois, through various affiliates, exclusive merchandise pop-up shops, and through

the usstore.hozier.com webstore.

       7.        As a result of long-standing use, there are common law trademark rights in the

HOZIER trademark. The HOZIER trademark is registered with the United States Patent and

Trademark Office. Plaintiff is the exclusive licensee of Hozier branded merchandise in the




                                                3
        Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 4 of 14 PageID #:4




United States and is authorized by Haskey Limited2 to enforce the rights in its trademarks,

including the following mark referred to as the “HOZIER Trademark.”

               REGISTRATION                                REGISTERED
                 NUMBER                                    TRADEMARK
                 4,911,329                                  HOZIER


          8.      The above U.S. registration for the HOZIER Trademark is valid, subsisting, in

full force and effect, and is incontestable pursuant to 15 U.S.C. § 1065. The registration for the

HOZIER Trademark constitutes prima facie evidence of its validity and of Plaintiff’s exclusive

right to use the HOZIER Trademark pursuant to 15 U.S.C. § 1057(b). Incontestable status under

15 U.S.C. § 1065 provides that the registration for the HOZIER Trademark is conclusive

evidence of the validity of the HOZIER Trademark and of the registration of the HOZIER

Trademark, of Haskey Limited’s ownership of the HOZIER Trademark, and of Haskey

Limited’s exclusive right to use the HOZIER Trademark in commerce. 15 U.S.C. §§ 1115(b),

1065. Attached hereto as Exhibit 1 is a true and correct copy of the United States Registration

Certificate for the HOZIER Trademark included in the above table.

          9.      The HOZIER Trademark is displayed extensively on Hozier products and in

marketing and promotional materials. The Hozier brand has been extensively promoted and

advertised at great expense. In fact, Plaintiff, or third parties on Plaintiff’s and Hozier’s behalf,

have expended millions of dollars in advertising, promoting, and marketing featuring the

HOZIER Trademark, as well as significant time and other resources. As a result, products

bearing the HOZIER Trademark are widely recognized and exclusively associated by consumers,

the public, and the trade as being products sourced from Plaintiff.



2
    Haskey Limited is the owner of the HOZIER Trademark.
                                                  4
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 5 of 14 PageID #:5




       10.     The HOZIER Trademark is distinctive when applied to the Hozier products,

signifying to the purchaser that the products come from Plaintiff and are manufactured to

Plaintiff’s quality standards. The HOZIER Trademark has achieved tremendous fame and

recognition, which has only added to the distinctiveness of the mark. As such, the goodwill

associated with the HOZIER Trademark is of incalculable and inestimable value to Plaintiff.

       11.     For years, Hozier (in partnership with Plaintiff) has operated e-commerce

webstores where he promotes and sells genuine Hozier products at usstore.hozier.com, including

apparel and other merchandise. The usstore.hozier.com webstore features proprietary content,

images, and designs exclusive to Hozier and Plaintiff.

       12.     Plaintiff’s innovative marketing and product designs, combined with the immense

popularity of Hozier, have made the HOZIER Trademark a famous mark. The widespread fame,

outstanding reputation, and significant goodwill associated with the Hozier brand have made the

HOZIER Trademark an invaluable asset of Plaintiff.

The Defendants

       13.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified

on Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems, or redistribute products from the same or similar

sources in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of

Civil Procedure 17(b).

       14.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics



                                                5
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 6 of 14 PageID #:6




used by Defendants to conceal their identities and the full scope of their operation make it

virtually impossible for Plaintiff to learn Defendants’ true identities and the exact interworking

of their counterfeit network. If Defendants provide additional credible information regarding

their identities, Plaintiff will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       15.     The success of the Hozier brand has resulted in significant counterfeiting of the

HOZIER Trademark. Consequently, Plaintiff has an anti-counterfeiting program and regularly

investigates suspicious e-commerce stores identified in proactive Internet sweeps and reported

by consumers. In recent years, Plaintiff has identified many fully interactive, e-commerce stores

offering Counterfeit Products on online marketplace platforms such as Amazon, eBay,

AliExpress, Alibaba, Wish.com, Walmart, Etsy, DHgate, and Temu, including the e-commerce

stores operating under the Seller Aliases. The Seller Aliases target consumers in this Judicial

District and throughout the United States. According to a U.S. Customs and Border Protection

(“CBP”) report, in 2021, CBP made over 27,000 seizures of goods with intellectual property

rights (“IPR”) violations totaling over $3.3 billion, an increase of $2.0 billion from 2020.

Intellectual Property Rights Seizure Statistics, Fiscal Year 2021, U.S. Customs and Border

Protection (Exhibit 2). Of the 27,000 in total IPR seizures, over 24,000 came through

international mail and express courier services (as opposed to containers), most of which

originated from China and Hong Kong. Id.

       16.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the



                                                  6
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 7 of 14 PageID #:7




Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking

in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s

Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 4, and finding that on

“at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and recommending that “[s]ignificantly enhanced vetting of third-

party sellers” is necessary. Counterfeiters hedge against the risk of being caught and having their

websites taken down from an e-commerce platform by preemptively establishing multiple virtual

store-fronts. Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party

marketplace to identify the underlying business entity, counterfeiters can have many different

profiles that can appear unrelated even though they are commonly owned and operated. Exhibit

4 at p. 39. Further, “E-commerce platforms create bureaucratic or technical hurdles in helping

brand owners to locate or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-

87.

        17.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds

from U.S. bank accounts, and, on information and belief, have sold Counterfeit Products to

residents of Illinois.

        18.     Defendants concurrently employ and benefit from substantially similar

advertising and marketing strategies. For example, Defendants facilitate sales by designing the e-

commerce stores operating under the Seller Aliases so that they appear to unknowing consumers

to be authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating

under the Seller Aliases appear sophisticated and accept payment in U.S. dollars and/or funds



                                                 7
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 8 of 14 PageID #:8




from U.S. bank accounts via credit cards, Alipay, Amazon Pay, and/or PayPal. E-commerce

stores operating under the Seller Aliases often include content and images that make it very

difficult for consumers to distinguish such stores from an authorized retailer. Plaintiff has not

licensed or authorized Defendants to use the HOZIER Trademark, and none of the Defendants

are authorized retailers of genuine Hozier products.

       19.     Many Defendants also deceive unknowing consumers by using the HOZIER

Trademark without authorization within the content, text, and/or meta tags of their e-commerce

stores to attract various search engines crawling the Internet looking for e-commerce stores

relevant to consumer searches for Hozier products. Other e-commerce stores operating under the

Seller Aliases omit using the HOZIER Trademark in the item title to evade enforcement efforts

while using strategic item titles and descriptions that will trigger their listings when consumers

are searching for Hozier products.

       20.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope

of their e-commerce operation.

       21.     E-commerce store operators like Defendants regularly register or acquire new

seller aliases for the purpose of offering for sale and selling Counterfeit Products. Such seller

alias registration patterns are one of many common tactics used by e-commerce store operators

like Defendants to conceal their identities and the full scope and interworking of their

counterfeiting operation, and to avoid being shut down.

       22.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with



                                                8
      Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 9 of 14 PageID #:9




common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same

registration patterns, accepted payment methods, check-out methods, keywords, advertising

tactics, similarities in price and quantities, the same incorrect grammar and misspellings, and/or

the use of the same text and images. Additionally, Counterfeit Products for sale by the Seller

Aliases bear similar irregularities and indicia of being counterfeit to one another, suggesting that

the Counterfeit Products were manufactured by and come from a common source and that

Defendants are interrelated.

        23.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

        24.     Counterfeiters such as Defendants typically operate multiple seller aliases and

payment accounts so that they can continue operation in spite of Plaintiff’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of financial

account transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based financial accounts to off-shore accounts outside the

jurisdiction of this Court.

        25.     Defendants are working in active concert to knowingly and wilfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Products in the same transaction,



                                                 9
    Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 10 of 14 PageID #:10




occurrence, or series of transactions or occurrences. Defendants, without any authorization or

license from Plaintiff, have jointly and severally, knowingly and wilfully used and continue to

use the HOZIER Trademark in connection with the advertisement, distribution, offering for sale,

and sale of Counterfeit Products into the United States and Illinois over the Internet.

       26.     Defendants’ unauthorized use of the HOZIER Trademark in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit Products, including the sale of

Counterfeit Products into the United States, including Illinois, is likely to cause and has caused

confusion, mistake, and deception by and among consumers and is irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       27.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       28.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered HOZIER

Trademark in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The HOZIER Trademark is a highly distinctive mark. Consumers have come to

expect the highest quality from products sold or marketed under the HOZIER Trademark.

       29.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the HOZIER Trademark without Plaintiff’s permission.

       30.     Plaintiff is the exclusive United States licensee of merchandise featuring the

HOZIER Trademark. The United States Registration for the HOZIER Trademark (Exhibit 1) is

in full force and effect. On information and belief, Defendants have knowledge of Plaintiff’s

rights in the HOZIER Trademark, and are willfully infringing and intentionally using

                                                 10
    Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 11 of 14 PageID #:11




counterfeits of the HOZIER Trademark. Defendants’ willful, intentional, and unauthorized use of

the HOZIER Trademark is likely to cause and is causing confusion, mistake, and deception as to

the origin and quality of the Counterfeit Products among the general public.

       31.     Defendants’     activities   constitute   willful   trademark   infringement   and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       32.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of

the well-known HOZIER Trademark.

       33.     The injuries and damages sustained by Plaintiff have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       34.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth

in the preceding paragraphs.

       35.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiff.

       36.     By using the HOZIER Trademark in connection with the sale of Counterfeit

Products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the Counterfeit Products.




                                                 11
    Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 12 of 14 PageID #:12




       37.      Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Products to the general public involves the use of

counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       38.      Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of

the HOZIER Trademark and brand.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the HOZIER Trademark or any reproductions, counterfeit copies or colorable

             imitations thereof in any manner in connection with the distribution, marketing,

             advertising, offering for sale, or sale of any product that is not a genuine Hozier

             product or is not authorized by Plaintiff to be sold in connection with the HOZIER

             Trademark;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Hozier product or any other product produced by Plaintiff, that is not Plaintiff’s or not

             produced under the authorization, control, or supervision of Plaintiff and approved by

             Plaintiff for sale under the HOZIER Trademark;

       c. committing any acts calculated to cause consumers to believe that Defendants’

             Counterfeit Products are those sold under the authorization, control or supervision of

             Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;



                                                  12
    Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 13 of 14 PageID #:13




       d. further infringing the HOZIER Trademark and damaging Plaintiff’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

           moving, storing, distributing, returning, or otherwise disposing of, in any manner,

           products or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff

           to be sold or offered for sale, and which bear any of Plaintiff’s trademarks, including

           the HOZIER Trademark, or any reproductions, counterfeit copies or colorable

           imitations thereof;

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, Walmart, Etsy, DHgate, and Temu (collectively, the “Third Party

   Providers”) shall disable and cease displaying any advertisements used by or associated with

   Defendants in connection with the sale of counterfeit and infringing goods using the

   HOZIER Trademark;

3) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the HOZIER Trademark be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   HOZIER Trademark;

5) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.




                                                13
    Case: 1:24-cv-04968 Document #: 1 Filed: 06/14/24 Page 14 of 14 PageID #:14




Dated this 14th day of June 2024.            Respectfully submitted,

                                             /s/ Justin R. Gaudio
                                             Amy C. Ziegler
                                             Justin R. Gaudio
                                             Kahlia R. Halpern
                                             Luana Faria de Souza
                                             Greer, Burns & Crain, Ltd.
                                             300 South Wacker Drive, Suite 2500
                                             Chicago, Illinois 60606
                                             312.360.0080
                                             312.360.9315 (facsimile)
                                             aziegler@gbc.law
                                             jgaudio@gbc.law
                                             khalpern@gbc.law
                                             lfaria@gbc.law

                                             Counsel for Plaintiff Merch Traffic, LLC




                                        14
